[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The counterclaim defendant, United Coastal Industries, Inc., has moved to strike the substituted counterclaim of King Associates, dated September 20, 1999. The substituted counterclaim is substantially similar to the previously submitted counterclaim.1 The additional allegations in the substituted counterclaim are not sufficient to rebut the conclusions reached CT Page 4497 by this court, Maloney, J., as stated in the decision, dated September 8, 1999, granting the motion to strike the initial counterclaim. Therefore, the motion to strike is granted for the same reasons articulated by Judge Maloney. The previous decision stands and is maintained as the law of the case. See State v.Arena, 235 Conn. 67, 80, 663 A.2d 972 (1995).
David L. Fineberg Superior Court Judge